                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF ALABAMA
                             NORTHERN DIVISION
 IN RE:
 JEREMY ANDREW BRAY                            )      CASE NO. 18-82940-CRJ-12
                                               )
 SSN XXX-XX-8166                               )
                                               )      CHAPTER 12
                        DEBTOR                 )

                       TRUSTEE’S OBJECTION TO DEBTOR’S
                            CLAIM OF EXEMPTIONS

        COMES NOW, Michele T. Hatcher, Chapter 12 Trustee, and objects to the Debtor’s Claim
 of Exemptions and as grounds therefore states the following:

 (X)    1. Debtor’s Claim of Exemptions for personal property exceeds the amount of $7,750 per
        debtor allowed by §6-10-6, Code of Ala., 1975.

 ()     2. Debtor’s Claim of Homestead Exemption exceeds the amount of $15,500 per debtor
        allowed by §6-10-2, Code of Ala., 1975.

 ()     3. Debtor claimed as exempt real estate which is not the Debtor’s homestead under the laws
        of the State of Alabama.

 ()     4. Debtors have claimed a homestead exemption on real estate that is not owned by the
        Debtors.

 (X)    5. Debtor states a current value of “Unknown” for his interest and claim of exemption in a
        Syngenta Corn class action lawsuit. The Trustee objects to the claim of exemption pursuant
        to In Re Green, 31 F.3d 1098 (11th Cir. Ala. 1994) as “Unknown” does not represent the actual
        value of the Debtor’s interest in this asset.

 (X)    6. Debtor claimed as exempt a 1969 Keiser 6x6 Army truck in the amount of $4,000, a
        2014 Polaris 550 ATV in the amount of $4,000, a stove, refrigerator, microwave and other
        household goods in the amount of $600, drills, chainsaws, lawn mower and weedeater in the
        amount of $2,000 and a John Deere planter, spray rig, field cultivator and 1418 Bushhog in
        the amount of $6,000 under §6-10-126, Code of Ala., 1975 which is not a permitted
        exemption in bankruptcy cases.

          WHEREFORE, the Trustee respectfully requests the Court enter an order granting the
 Trustee’s Objection to Debtor’s Claim of Exemptions as set forth in paragraphs one (1), five (5) and
 six (6) above.




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        RESPECTFULLY SUBMITTED this the 2nd day of November, 2018.


                                                     /s/ Michele T. Hatcher _____________
                                                     Michele T. Hatcher
                                                     Chapter 12 Trustee
                                                     P.O. Box 2382
                                                     Decatur, AL 35602
                                                     (256) 350-0442



                                    CERTIFICATE OF SERVICE

          I hereby certify that on November 2, 2018, I have served a copy or the foregoing on the
 parties listed below by depositing the same in the United States Mail, postage prepaid and properly
 addressed, or if the party being served is a registered participant in the CM/ECF System for the United
 States Bankruptcy Court for the Northern District of Alabama, service has been made by a “Notice
 of Electronic Filing” pursuant to FRBP 9036 in accordance with subparagraph II.B.4 of the Court’s
 Administrative Procedures.

 Jeremy Andrew Bray
 8080 County Road 52
 Spruce Pine AL 35585

 Tazewell T. Shepard
 Sparkman Shepard & Morris P.C.
 303 Williams Ave Ste 1411
 Huntsville AL 35801


                                                        /s/ Michele T. Hatcher
                                                        Trustee




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